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                              EXHIBIT 56
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                                                                    Page 1

 1                 IN THE UNITED STATES DISTRICT COURT
 2                         NORTHERN DISTRICT OF OHIO
 3                             EASTERN DIVISION
 4                                    - - -
 5       In Re National                    :
         Prescription Opiate               :
 6       Litigation                        :
                                           :    MDL No. 2804
 7                                         :
         This document relates             :    Case No. 17-md-2804
 8       to:                               :
                                           :    Judge Dan Aaron
 9       The County of Summit,             :    Polster
         Ohio, et al., v. Purdue           :
10       Pharma L.P., et al.               :
         Case No. 1:18-OP-45090            :
11
12                      Transcript of the video deposition of
13       Julie Barnes, a witness herein, called by the
14       Track One Defendants for examination under the
15       applicable rules of Federal Civil Court
16       Procedure, taken before me, Linda D. Riffle,
17       Registered Diplomate Reporter, Certified Realtime
18       Reporter, Certified Realtime Captioner, and
19       Notary Public in and for the State of Ohio,
20       pursuant to notice and agreement, at the Akron
21       Bar Association, 57 South Broadway Street, Akron,
22       Ohio, on Monday, December 3, 2018, beginning at
23       8:59 a.m. and concluding on the same day.
24
25

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                                                 Page 66                                                Page 68
    1   BY MR. ALEXANDER:                                1    Q. -- have you gained information about the
    2      Q. As far as you know.                        2 role of heroin in Summit County in terms of
    3      A. Well, I think an opiate, specifically,     3 either substance abuse or overdose deaths or any
    4   is a certain type. An opioid is a more -- the    4 other problem that affects Children's Services?
    5   more general, broad perspective.                 5       MS. FLOWERS: Objection.
    6      Q. What's heroin? Where does that fit into 6          THE WITNESS: Yeah. I mean, heroin is a
    7   the scheme that you've been describing?          7 drug that is used by some of the clients that we
    8      A. You know, heroin is a synthetic type of    8 serve, yes.
    9   drug that is an opiate, but not a prescription.  9 BY MR. ALEXANDER:
   10      Q. What about fentanyl or carfentanil? Do 10       Q. Is it one of the biggest problems in
   11   you know where those fit into this?             11 terms of substance of abuse right now?
   12      A. Carfentanil is also a synthetic type of   12       MS. FLOWERS: Object to the form. Lack
   13   drug or can be. It can be a prescription drug.  13 of foundation.
   14   I know there are definitely -- fentanyl can be  14       THE WITNESS: It is a very big problem
   15   prescribed for pain management as well.         15 for many of the clients that we serve, yes.
   16   Carfentanil, my understanding, is really a pain 16 Uh-huh.
   17   drug for large animals.                         17 BY MR. ALEXANDER:
   18      Q. What about, like, fentanyl analogs?       18    Q. Has heroin been passed in the last year
   19   Have you ever heard of that term?               19 or so by cocaine and methamphetamine with an
   20      A. I have, yeah.                             20 uptick in Summit County --
   21      Q. Okay. And what's your understanding of 21          MS. FLOWERS: Object to the form.
   22   what that means?                                22 BY MR. ALEXANDER:
   23      A. I don't know that I have a good           23    Q. -- as far as you know?
   24   understanding of what it means other than there 24       MS. FLOWERS: Lack of foundation.
   25   are different types of fentanyls and different  25       THE WITNESS: Passed by? Say -- please
                                                 Page 67                                                Page 69
    1   makeups and -- so, no, I --                       1   say it again.
    2      Q. Where does cocaine fit into this? Is        2   BY MR. ALEXANDER:
    3   that an opioid or opiate, as far as you're        3      Q. Has heroin, as a drug of abuse impacting
    4   concerned?                                        4   Children's Services, been passed by cocaine and
    5      A. Not to my knowledge, no.                    5   methamphetamine within the last year or so?
    6      Q. Okay. What about methamphetamine? Is        6          MS. FLOWERS: Same objection.
    7   that opioid or opiate or something else?          7          THE WITNESS: Heroin -- from my
    8      A. No.                                         8   perspective and what I've seen in my agency,
    9      Q. Something else?                             9   heroin surpassed cocaine at some point and was
   10      A. It's something else. It's not an           10   a -- a primary issue for many of our clients. We
   11   opiate.                                          11   have seen a resurgence of meth more recently.
   12      Q. Okay. Do you know anything about the       12          I think much of that is really education
   13   importation of heroin from other countries that  13   that's been done around use of opioids and heroin
   14   eventually makes its way into Summit County? Any 14   and, you know, the many drug overdoses and deaths
   15   personal knowledge about that at all?            15   that have occurred. I think we're seeing many
   16      A. No.                                        16   clients that are switching to using meth because
   17      Q. Anything about data that would relate to   17   they feel it's a more controlled substance that
   18   heroin usage trends within Summit County?        18   they can manage better.
   19          MS. FLOWERS: Object to the form.          19   BY MR. ALEXANDER:
   20          THE WITNESS: Yeah, I don't really         20      Q. So let's go back a little bit. So back
   21   understand the question.                         21   when you were with Summit County in the past, was
   22   BY MR. ALEXANDER:                                22   that during when cocaine was at its peak --
   23      Q. Okay. Do you -- in connection with your    23          MS. FLOWERS: Objection.
   24   job --                                           24   BY MR. ALEXANDER:
   25      A. Yeah.                                      25      Q. -- in the early to mid 2000s?

                                                                                           18 (Pages 66 - 69)
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                                                    Page 70                                                    Page 72
    1         MS. FLOWERS: Object to the form.                 1         I would say in my 28-year career,
    2         THE WITNESS: I don't remember exactly            2   dealing with opiates has been one of the greatest
    3   when cocaine was at its peak. That may be              3   challenges that we've had with our clientele.
    4   accurate. I just -- I don't remember the year          4      Q. So going back to the 28 years, viewing
    5   the cocaine peaked but --                              5   it kind of overall, tracking the substance of
    6   BY MR. ALEXANDER:                                      6   abuse, what the trends are within that, which
    7      Q. Let me just ask in general. Do you               7   ones are having the greatest impact and how they
    8   remember a time when the -- the drug of abuse or       8   might change how you provide children's services,
    9   the substance of abuse that was having the             9   your budgetary needs, have always been a part of
   10   biggest impact on Children's Services was cocaine     10   your job?
   11   and crack? Was that during your time?                 11      A. Yes.
   12      A. Yes. Uh-huh.                                    12         MS. FLOWERS: Object to the form.
   13      Q. Okay. And there were issues like                13   BY MR. ALEXANDER:
   14   offspring of people who were addicted to cocaine      14      Q. And as you've moved into management and
   15   in various forms having additional Children's         15   pay attention to staffing needs and budget needs,
   16   Services needs affecting the entire range of          16   you have to track that in kind of a -- not just
   17   services provided by Children's Services,             17   anecdotal way but looking for data analysis and
   18   correct?                                              18   more reliable ways to look at the drug of abuse
   19      A. Yes.                                            19   or substance of abuse that's impacting the
   20         MS. FLOWERS: Object to the form.                20   provision of children's services, correct?
   21         THE WITNESS: Uh-huh. Yes.                       21         MS. FLOWERS: Object to the form.
   22   BY MR. ALEXANDER:                                     22         THE WITNESS: We -- if you're asking me
   23      Q. And there were also adults who                  23   about tracking, I think is the question, we have
   24   interacted with Children's Services where their       24   always had some trouble tracking substance abuse
   25   needs were exacerbated or created because of          25   or type of substances over the years, I mean,
                                                    Page 71                                                    Page 73
    1   addiction or even overdose to cocaine in various 1 historically, because there are many places
    2   forms, correct?                                   2 throughout a case where substance use can become
    3         MS. FLOWERS: Objection. Form.               3 an issue.
    4         THE WITNESS: Our clients?                   4       So it could be reported to us at day
    5   BY MR. ALEXANDER:                                 5 one. It could be something that's identified at
    6      Q. Yes.                                        6 our disposition of the case. It could be
    7      A. Yes. I mean, addiction has always been 7 something that is identified later in the case if
    8   an issue for many of the clients that we serve.   8 we're continuing to serve a family. So there are
    9   I think what we have seen more recently is that 9 various points and places where addiction and
   10   the addiction has increased. So roughly          10 type of substance can become an issue.
   11   estimating, I would say, you know, we've always11 BY MR. ALEXANDER:
   12   dealt with maybe a third of our population or a 12     Q. Okay. So it's been a challenge to
   13   quarter of our population having some type of 13 accurately track and do data analysis of the drug
   14   addiction issue, but they were often issues like 14 of abuse over time, correct?
   15   alcoholism and they were sometimes able to       15       MS. FLOWERS: Objection. Misstates the
   16   function, sometimes able to manage their         16 testimony.
   17   parenting.                                       17       THE WITNESS: Yes, that is correct.
   18         As we saw addiction change to opiates      18 BY MR. ALEXANDER:
   19   and heroin, we see our clients struggling more 19      Q. And over the last several years, there
   20   with their addiction. So addiction has certainly 20 have been efforts on a statewide basis, at least,
   21   changed over time in my career. I -- you know, 21 to try to improve the data, which has led to kind
   22   alcohol was the primary issue when I was a       22 of an increase of the estimate of drug of abuse
   23   caseworker. Cocaine became an issue at some 23 within Children's Services? Clients of
   24   point. Opiates became an issue several years 24 Children's Services, not employees.
   25   ago. So it has certainly changed over time.      25    A. There have been changes to the system

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                                                     Page 74                                                      Page 76
    1   over time to try and more accurately reflect            1   when that was cocaine, which included overdose
    2   substance use and type of drug.                         2   deaths, correct?
    3      Q. Like there's a caseworker blitz a couple          3         MS. FLOWERS: Object to the form.
    4   years ago with the SACWIS system to try to make         4         THE WITNESS: I'm -- I'm sure -- I don't
    5   sure people were more systematic and thorough in        5   remember the data around cocaine and overdose
    6   putting in drug of abuse or substance of abuse,         6   deaths, so I -- you know, I -- I can't speak to
    7   correct?                                                7   that really, I guess.
    8      A. Yes.                                              8   BY MR. ALEXANDER:
    9      Q. Okay. And so before roughly 2016, the             9      Q. There would have been children who
   10   data on which drug of abuse was at issue and how       10   entered foster care or had to go through the
   11   often a drug of abuse or substance of abuse            11   system in one form or another because of
   12   played a role in a particular case was less            12   questions about the ability of their parents to
   13   reliable?                                              13   take care of them because of cocaine abuse,
   14          MS. FLOWERS: Object to the form.                14   correct?
   15          THE WITNESS: I don't know that I would          15      A. Correct.
   16   say it's less reliable. I would say it was             16         MS. FLOWERS: Objection.
   17   harder to obtain. So if you obtained substance         17         THE WITNESS: Yeah.
   18   use through a particular field and it, you know,       18   BY MR. ALEXANDER:
   19   had it listed in that particular field, that's         19      Q. And that's still the case today,
   20   probably accurate data.                                20   unfortunately, correct?
   21          It's -- the issue is when we get into an        21      A. About cocaine?
   22   underrepresentation because we don't                   22      Q. Yes, ma'am.
   23   necessarily -- we have to look in so many              23      A. Yeah. We still have some cocaine use
   24   multiple places to identify it. So that's --           24   that we deal with, yes.
   25   that's where I think often our data is not             25      Q. And, in fact, what we've been describing
                                                     Page 75                                                      Page 77
    1   inaccurate, but it's underrepresented.                  1   as the trend is that the impact of heroin peaked
    2   BY MR. ALEXANDER:                                       2   around 2016. And since then, heroin has dropped,
    3      Q. That's the word I was about to ask you            3   while cocaine and methamphetamine have come back
    4   about.                                                  4   up; is that correct?
    5      A. Yeah.                                             5         MS. FLOWERS: Object to the form. Lack
    6      Q. Before 2016 or so, when you were looking          6   of foundation.
    7   at the incidents of substance abuse playing a           7         THE WITNESS: I think we have seen meth
    8   role in Children's Services' case and identifying       8   recurrence very recently. I -- I mean, I can't
    9   the specific substances that were at issue, that        9   put a -- I can't pinpoint a time for you but,
   10   would be underrepresented data?                        10   primarily, I would say that's more this year.
   11         MS. FLOWERS: Object to the form.                 11   That's more very recent.
   12         THE WITNESS: I would --                          12   BY MR. ALEXANDER:
   13   BY MR. ALEXANDER:                                      13      Q. And there was a time in the past when
   14      Q. Or underestimated?                               14   meth was at its peak, correct, like mid 2000s?
   15      A. Yeah, I -- I believe it's                        15         MS. FLOWERS: Object to the form.
   16   underestimated. Yes.                                   16         THE WITNESS: Uh-huh. Yes, there was a
   17      Q. Okay. And keeping that caveat in mind,           17   time when meth was at its peak, and it's probably
   18   there have been, at different times over your          18   mid 2000s. Yes.
   19   28-year careers, different drugs or groups of          19   BY MR. ALEXANDER:
   20   drugs that were essentially the biggest concern,       20      Q. Including the time when you had your
   21   the primary culprit from your perspective or that      21   prior Summit County position as director of
   22   of your colleagues, about what was driving             22   foster care and adoption, correct? That would
   23   Children's Services' needs, correct?                   23   have been during that time period of 2002 to
   24      A. Correct.                                         24   2007?
   25      Q. And we talked about there was a time             25         MS. FLOWERS: Object to the form.

                                                                                                   20 (Pages 74 - 77)
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                                                     Page 82                                                     Page 84
    1      A. No, I don't --                                    1   cocaine use had been lower than it had been at
    2          MS. FLOWERS: Object to the form. Lack            2   some of the peaks in the past. Is that right so
    3   of foundation.                                          3   far?
    4          THE WITNESS: I don't remember                    4         MS. FLOWERS: Objection.
    5   specifically anything about cocaine being on an         5         THE WITNESS: I believe so, yes.
    6   uptick but . . .                                        6   BY MR. ALEXANDER:
    7   BY MR. ALEXANDER:                                       7      Q. And I'm not just talking about use in
    8      Q. And when we talk about any of these               8   the community. I mean use within your clients or
    9   drugs being a drug of abuse or a substance of           9   within the family units that affect your clients,
   10   abuse impacting your clients or the -- the             10   correct?
   11   children in your system, they can all --               11      A. I believe so.
   12   whichever the drug is or the substance of abuse,       12      Q. And, therefore, it would impact the need
   13   they can all affect the -- the clients in terms        13   for children's services and the cost of
   14   of impacting child custody, child support, the         14   children's services.
   15   need for foster care, protective services, the         15         MS. FLOWERS: Object to form.
   16   full range of services that your group provides,       16         THE WITNESS: The lack of -- or -- I
   17   correct?                                               17   don't understand the question.
   18          MS. FLOWERS: Object to the form.                18   BY MR. ALEXANDER:
   19          THE WITNESS: Substance abuse can                19      Q. The use of cocaine and methamphetamine
   20   certainly impact our clients' ability to take          20   or marijuana or alcohol that you're tracking over
   21   care of their children, depending on many other        21   time, part of the impact that you're tracking is
   22   factors, of course. So, you know, there are            22   whether they affect your need for additional
   23   behavioral factors and environmental factors that      23   staffing, the quality of services that you're
   24   go into that, genetic factors that go into that.       24   providing, the number of clients in the system?
   25   So there's many reasons that substances can            25         MS. FLOWERS: Object to the form.
                                                     Page 83                                                     Page 85
    1   affect an individual in a different way.                1   BY MR. ALEXANDER:
    2   BY MR. ALEXANDER:                                       2      Q. Correct so far?
    3      Q. Okay. Let me ask it this way:                     3      A. Not necessarily. You know, I don't know
    4   Children's Services provides a range of services,       4   that we really did any cost analysis, for
    5   correct?                                                5   example, on meth use. I mean, it was certainly a
    6      A. That's correct, yes.                              6   factor. We knew we had clients that used meth,
    7      Q. And each service that Children's                  7   just as at some point we had clients that used
    8   Services provides can be impacted by a substance        8   cocaine.
    9   of abuse, whether it be alcohol, or marijuana,          9         As I said, we've always had clients that
   10   cocaine, heroin, methamphetamine, or something         10   have had substance use disorder. I don't know
   11   else?                                                  11   that we tracked it specifically around costs
   12         MS. FLOWERS: Object to the form.                 12   related to those drugs.
   13         THE WITNESS: Well, our clients might             13   BY MR. ALEXANDER:
   14   need different services based on having a              14      Q. Let's set aside cost. When you say
   15   substance use disorder.                                15   "staffing," one of the things you pay attention
   16   BY MR. ALEXANDER:                                      16   to as executive director is if you have
   17      Q. Okay. So let's go back to 2013 when you          17   appropriate staffing both in terms of overall
   18   took the executive director position because           18   levels and hiring at different positions to end
   19   maybe it will be helpful --                            19   up with appropriate caseloads and quality of
   20      A. Okay.                                            20   services that could be provided; is that fair?
   21      Q. -- to just kind of walk through what's           21      A. Yes. We staff according to the number
   22   gone on each of these last couple of years.            22   of cases that we're serving so we have -- can
   23      A. Uh-huh.                                          23   maintain our caseloads at a manageable level.
   24      Q. You said that when you came in in 2013,          24      Q. You also track the number of cases that
   25   you were aware that the methamphetamine and            25   are open at any given time to look at whether the

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                                                     Page 86                                                    Page 88
    1   staffing is appropriate, correct?                       1   say, 2014 relating to other drugs or that people
    2      A. Yes. Uh-huh.                                      2   within Children's Services were doing looked at
    3      Q. And within that, you also look at                 3   things like staffing needs and caseloads, how
    4   whether there are particular drivers of the cases       4   they would be affected by the -- the substances
    5   or the needs of cases, whether they be, like,           5   of abuse, correct?
    6   substance of abuse or language barriers or other        6          MS. FLOWERS: Object to the form.
    7   factors that might affect the need for and amount       7          THE WITNESS: Yeah, I -- I don't know --
    8   of services on a individual or overall basis --         8   I feel like you asked me the same question, and I
    9         MS. FLOWERS: Object --                            9   don't know how to answer it differently.
   10   BY MR. ALEXANDER:                                      10          We always look at whatever the issues
   11      Q. -- correct?                                      11   are that are impacting our clients when we're
   12         MS. FLOWERS: Object to the form.                 12   doing our staffing needs and our program needs,
   13         THE WITNESS: That's correct. Yes.                13   yes.
   14   Uh-huh.                                                14   BY MR. ALEXANDER:
   15   BY MR. ALEXANDER:                                      15      Q. And there would have been programs
   16      Q. So there would have been analyses done           16   instituted before 2014 that tried to improve the
   17   on, essentially, the different substances of           17   performance of children's services being provided
   18   abuse that were driving Children's Services need,      18   to clients to account for the different
   19   not just starting in 2014, '15, or '16, but over       19   substances of abuse and trends within substances
   20   the years before that as well, correct?                20   of abuse at any given time, correct?
   21         MS. FLOWERS: Object to the form. Lack            21      A. Correct.
   22   of foundation.                                         22      Q. And you said that in 2014 is when you
   23         THE WITNESS: I don't know that there             23   recall starting to notice that there was an
   24   were analyses conducted specifically related to        24   uptick in Children's Services' needs based upon
   25   the use of meth or cocaine. I don't know that.         25   the use of heroin, opiates or opioids. I'm not
                                                     Page 87                                                    Page 89
    1   BY MR. ALEXANDER:                                 1 trying to characterize exactly which drug it was.
    2      Q. What about alcohol or drugs in general      2       But is that right so far?
    3   or -- or marijuana?                               3    A. Yes.
    4          MS. FLOWERS: Object to the form.           4    Q. Okay. And what was your assessment as
    5          THE WITNESS: I don't know that there 5 to within that, was that driven by heroin? was
    6   were any specific analyses related to cost        6 that driven by illegally obtained drugs? or was
    7   conducted on those types of drugs.                7 that driven by some other category of drugs?
    8          You know, they may have increased          8       MS. FLOWERS: Object to the form.
    9   caseloads, so caseloads may -- we may have had 9          THE WITNESS: I don't know that I have
   10   more cases, for example, which would have        10 an answer for that. I mean, I think we have
   11   required us to hire more staff or to alter our   11 talked about opiates and heroin together. They
   12   services, for example.                           12 seem to be very strongly linked for our clients.
   13          So we -- we may -- we do things like      13 Many started on an opiate of some kind that led
   14   train staff specifically around a type of issue  14 to heroin. So I don't know that in our
   15   that the clients may be having. We may try to 15 conversations we really deciphered heroin from
   16   put programs in place for our staff on a certain 16 the opiate specifically or a specific type.
   17   type of issue. So trainings related to heroin    17 BY MR. ALEXANDER:
   18   and opiates, for example. We've done a           18    Q. Do you remember -- do you remember
   19   substantial amount of that over the last few     19 having specific discussions in 2014 or before
   20   years for staff so that they understand it       20 about this issue of heroin, opiates, or opioids
   21   better.                                          21 impacting children's services in Summit County?
   22   BY MR. ALEXANDER:                                22    A. Well, heroin certainly isn't a new
   23      Q. And -- and I said for these questions      23 phenomenon. I mean, it -- that's been, you know,
   24   just for now I was -- I was setting aside costs. 24 something that's been an issue since I've, you
   25   The analyses that you were doing before, let's 25 know, been in child welfare. I don't remember it
                                                                                                  23 (Pages 86 - 89)
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                                                   Page 90                                                   Page 92
    1   being a problem specifically that was coming to 1 '16, who was working with Kevin in QI on these
    2   my attention until around 2014 and really --      2 sorts of projects that you were initiating?
    3   real -- much more so in 2015. I think we started 3      A. We have a department director over our
    4   to hear about our clients using heroin and        4 quality improvement department. It is currently
    5   opiates in 2014 is when those conversations       5 Elizabeth Mangon, I mentioned earlier, because
    6   started to occur. The problem really sort of hit 6 she's also over our records department. And
    7   us in 2015.                                       7 prior to -- I don't know when she started because
    8   BY MR. ALEXANDER:                                 8 it's been within the last couple of years. We
    9      Q. The conversations from 2014 that you        9 had a prior director over quality improvement who
   10   just referenced --                               10 retired.
   11      A. Uh-huh.                                    11     Q. And who was the prior director from,
   12      Q. -- were they between you and other         12 like, the 2014 time frame?
   13   people within Children's Services?               13     A. Her name is Nealya Carter. Again, I
   14      A. Yes.                                       14 don't know when Nealya Carter left and Liz took
   15      Q. With whom?                                 15 over specifically. It was probably after 2014.
   16      A. Caseworkers and supervisors and, you       16     Q. Is that with an "N" or an "M" in her
   17   know, various level of primarily social service 17 first name? I couldn't quite hear you.
   18   staff who were seeing issues with their clients 18      A. Nealya, you mean? Nealya, N-e-a-l-y-a.
   19   that were heroin related or opiate related, and 19      Q. Okay. So in addition to the initiatives
   20   some of the struggles that they were having in 20 with Kevin Brown in QI, were there another --
   21   trying to find the right treatment and service   21 were there other measures that you initiated or
   22   plan for those clients because they were really 22 discussions, at least, that you initiated about
   23   struggling and very difficult to service.        23 ways to make things better or ways to assess what
   24      Q. So back in 2014 when you started having 24 the -- what the problem was, what its impact was?
   25   these discussions with your colleagues, did you 25         MS. FLOWERS: Object to the form.
                                                   Page 91                                                   Page 93
    1   ask for there to be any sort of analyses done or      1          THE WITNESS: There were many, many
    2   proposals put together to look at how to improve      2   conversations that were beginning to happen
    3   the provision of children's services given this       3   community-wide. I mean, so it really was not
    4   change in drug use patterns?                          4   just in the agency, but we were having community
    5      A. I know that I did start asking some of          5   discussions with law enforcement, with our mental
    6   those questions from our QI staff, for example,       6   health board, with the medical examiner's office,
    7   maybe as early as 2014. Uh-huh.                       7   with the courts.
    8      Q. Who's QI?                                       8          So there were many discussions that were
    9      A. Quality improvement. Yeah.                      9   beginning to pop up throughout the community as
   10      Q. And who would be the folks in there that       10   early as 2014 about, you know, what was happening
   11   you would have been having these discussions with    11   and what we were seeing as a community serving
   12   about initiating these sorts of analyses back in     12   clients with substance use disorder and
   13   2014?                                                13   specifically opioid epidemic.
   14      A. We had a analyst who worked in our             14   BY MR. ALEXANDER:
   15   quality improvement department. His name is          15      Q. Including the statewide efforts, task
   16   Kevin Brown. But Kevin passed away, so -- but he     16   forces, that sort of thing initiated by the
   17   was, you know, our primary researcher and he did     17   governor?
   18   all of our -- he pulled all the data for us and      18      A. That's right, yes.
   19   did all of our research. So Kevin Brown did          19      Q. Do you remember participating in that or
   20   primarily all of the research for us until he        20   at least seeing the output of some of those
   21   passed away.                                         21   statewide efforts back in 2014?
   22      Q. When did he pass away?                         22      A. I don't remember so much about statewide
   23      A. He passed away in -- I believe it was          23   efforts in '14. I -- I do remember some
   24   December of 2017.                                    24   statewide efforts that occurred a little later
   25      Q. Before then, so going back to 2014, '15,       25   than that. They were probably in '15 and '16.

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                                                    Page 94                                                     Page 96
    1   We have an association that has been very              1      Q. We do have some information about STARS.
    2   involved from looking at this issue statewide and      2      A. Okay.
    3   started really trying to do some tracking of how       3      Q. Not to be confused, but there's a whole
    4   opiates were impacting our system as a whole           4   other thing called START.
    5   statewide has really been an issue statewide and       5      A. START. We have that as well, yes.
    6   probably nationwide. So they were looking at it        6      Q. So let's go back to -- to where we were.
    7   from a statewide perspective.                          7   I was asking about initiatives that you started,
    8         There were some things certainly that            8   anything you set in motion back in 2014. Was
    9   was going on, I think, you know, throughout other      9   there anything else that -- that you started or
   10   administrations at the state level. The attorney      10   that you know came to pass because of efforts
   11   general's office did some work around this issue,     11   that you took in 2014 in terms of analyses,
   12   as well, I think, in 2016.                            12   projects, changes to best practices, anything
   13      Q. The organization you're talking about,          13   like that?
   14   what was the name of it?                              14         MS. FLOWERS: Object to the form.
   15      A. Public Children's Services Association          15         THE WITNESS: You know, I'm struggling
   16   of Ohio.                                              16   with the year. I don't -- you know, you're --
   17      Q. PCSAO?                                          17   you're pinning it to 2014, and I don't know that
   18      A. PCSAO. They are the directors                   18   I can separate out what initiatives occurred in
   19   association for Children's Services.                  19   '14 versus '15. So I'm not sure I can answer
   20      Q. And you've been involved with them going        20   that accurately.
   21   back to 2013?                                         21   BY MR. ALEXANDER:
   22      A. Yes. I have been involved with them             22      Q. Let me just maybe bracket it. Did your
   23   long-term. I'm on their board, actually.              23   ballot initiative pass last month?
   24      Q. Okay. So we'll talk about the                   24      A. Our levy?
   25   coordination within counties and states and all       25      Q. Yes.
                                                    Page 95                                                     Page 97
    1   of those sorts of things over the course of the        1      A. Oh. Yes. Our levy passed last month.
    2   day. I want to go back to kind of the time frame       2      Q. Okay.
    3   of where we are.                                       3      A. Yes.
    4          Were there -- were there other efforts,         4      Q. And that, itself, was a
    5   whether it data collection analysis or looking at      5   close-to-two-year process of seeking to get it on
    6   ways to improve or assess the impact, any other        6   the ballot and to try to increase your levy to
    7   efforts that you initiated within your group back      7   make sure you have, essentially, the major source
    8   in the 2014 time frame?                                8   of your funding going forward, correct?
    9          MS. FLOWERS: Object to the form.                9          MS. FLOWERS: Object to the form. Lack
   10          THE WITNESS: We were part of a grant,          10   of foundation.
   11   for example. It did not initiate in 2014, but it      11          THE WITNESS: Correct. It's been an
   12   was certainly ongoing in 2014. We had a federal       12   ongoing process, actually, for many years.
   13   grant that started in 2012 that is the STARS          13   BY MR. ALEXANDER:
   14   grant.                                                14      Q. And there are a lot of moving pieces to
   15          And if you ask me what that stands for,        15   all of the budgeting --
   16   I won't be able to repeat it. I apologize. It's       16      A. Yes.
   17   a very long acronym. But it is related to             17      Q. -- state, federal, private, local
   18   substance abuse and not specific to opiates, but      18   levies, correct?
   19   it is for any type of substance abuse. So that        19      A. Yes.
   20   was one of the programs that we had implemented       20      Q. They're --
   21   and were continuing to work on throughout 2014        21          MS. FLOWERS: Objection.
   22   until it ended this July.                             22   BY MR. ALEXANDER:
   23   BY MR. ALEXANDER:                                     23      Q. So I know that when we talk about
   24       Q. Okay. We'll go over that.                      24   budgeting, it can be a long time frame until you
   25       A. Okay.                                          25   actually see that money is coming in through one

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                                                     Page 98                                                   Page 100
     1   of these and some of them involve renewals. So I       1   our practice and changing it and trying to react
     2   want to go back to where we were.                      2   to what we have been seeing.
     3          Were there specific, like, budget               3   BY MR. ALEXANDER:
     4   requests or efforts made to get additional             4      Q. Okay. So I want to make sure we're on
     5   funding that were initiated back in 2014 or 2015       5   the same page when we're talking about 2014
     6   as -- as a result of these observations from 2014      6   because that's when you said you -- although
     7   that you described?                                    7   heroin has always been an issue to some extent,
     8          MS. FLOWERS: Object to the form.                8   you noticed that there was an uptick of heroin
     9          THE WITNESS: Well, if I understand your         9   and potentially some other drugs that you're
    10   correct -- your question, I believe 2015 -- no --     10   lumping together in the opiate and opioid group.
    11   it was 2016 we did a budget adjustment related to     11   That's what we're talking about for 2014.
    12   placement because of things that had occurred,        12         So back then, was there ever a time when
    13   really, in the prior year.                            13   you specifically recall you or your staff
    14   BY MR. ALEXANDER:                                     14   identifying an uptick in the use of prescription
    15      Q. Okay. Were there changes to best                15   opioids by people who were actually prescribed
    16   practices that were initiated within Children's       16   the opioid and obtained it legally?
    17   Services as a result of these observations or         17         MS. FLOWERS: Object to the form.
    18   efforts from 2014?                                    18         THE WITNESS: I -- we started trying to
    19          MS. FLOWERS: Object to the form.               19   run some reports in '14. I know Kevin was
    20          THE WITNESS: You know, there -- there          20   running some reports, and I don't know how good
    21   have been a lot of changes to best practices.         21   the data is around type of drug in terms of, you
    22   Again, I -- you're tying it to a specific time        22   know, type of prescription drug. But there --
    23   period, so that's where I'm struggling to answer      23   there definitely were reports that were being
    24   your question. I'm -- I'm trying to answer your       24   looked at as early as 2014.
    25   question. I just don't really -- you're asking        25   BY MR. ALEXANDER:
                                                     Page 99                                                   Page 101
     1   about specifically how do I tie it to '14, and     1          Q. And you would have received those
     2   I'm not sure how to do that.                       2       reports from Kevin Brown back then?
     3         But we have done a lot of things in          3          A. Some of them, yes.
     4   terms of changing practice over several years      4          Q. So what I'm going to do is say -- so
     5   that started around 2014. We made a lot of         5       I've given you kind of one category, which is an
     6   changes to the STARS grant, for example, just in   6       impact on Children's Service from people who are
     7   how we implement that. We did a lot of training    7       taking a prescription opioid that was obtained by
     8   for our staff around substance use disorder and    8       them legally through a prescription written for
     9   opiates specifically.                              9       them. Does that make sense as a category?
    10         We have a unit of staff who handles our     10          A. Yes. Uh-huh.
    11   substance use disorder cases. We've worked a lot  11          Q. Okay. And then another category would
    12   with that unit around, you know, their process,   12       be people who obtain prescription opioids
    13   their practices. We've put in place trauma        13       illegally. They steal it, they take somebody
    14   screenings for children because we know that      14       else's, they get it on the street, whatever, but
    15   children are very traumatized when they come from 15       they don't have a legal prescription to obtain it
    16   homes with any substance use disorder.            16       legally and don't obtain it legally. That's a
    17         We have put some screens in place where     17       second category. Does that make sense?
    18   we do a substance use screening at the beginning  18          A. Yes.
    19   of the case on all of our cases. We have put      19          Q. The third would be somebody who isn't
    20   some in-home services in place for families who   20       taking a prescription opioid at all, they're
    21   are struggling to keep children safe in their own 21       taking an opiate: heroin, an illegal street drug
    22   home. So we have people who go into the homes to 22        like fentanyl analog obtained through the mail
    23   assist and support them. We have a couple         23       from China, completely illegal opiates. Does
    24   different programs that do that.                  24       that make sense as a third category?
    25         So we've -- we're constantly looking at     25          A. Yes.

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                                                     Page 154                                                    Page 156
     1          MS. FLOWERS: This witness doesn't need           1   staff.
     2   any coaching, sir. You asked her about the              2      A. Uh-huh.
     3   impact on Children's Services.                          3      Q. We have seen some discussion of turnover
     4          MR. ALEXANDER: Counsel, that's --                4   in some of your documents, including that there's
     5          MS. FLOWERS: That's what she gave you.           5   been some efforts to increase hiring over the
     6          MR. ALEXANDER: -- a misrepresentation.           6   last year or two.
     7   BY MR. ALEXANDER:                                       7      A. Uh-huh.
     8      Q. So let's go back. I was asking you                8      Q. Are you aware of specific analyses of
     9   about analysis. Has there been an analysis of           9   turnover that tie them to issues with opioids, or
    10   the impact of deaths related to somebody who died      10   is that just your impression? Opioids or
    11   while taking or having recently taken such that        11   opiates. I'm sorry.
    12   it might be detectable an opioid or opiate and         12          THE WITNESS: I mean, I -- I -- it's
    13   that that -- the impact of those deaths on             13   certainly more of an impression. We do
    14   Children's Services? Has there been an analysis?       14   conversations with staff when they exit or their
    15          MS. FLOWERS: Objection. Asked and               15   supervisors have conversations with them when
    16   answered.                                              16   they exit that they will share, generally, about,
    17          THE WITNESS: Other than the connection          17   you know, the reason that the staff left. Which,
    18   that I've made with what I've already said,            18   generally, for our young staff who we -- in the
    19   there's no specific analysis to did the death --       19   first year or so is related to the stress of the
    20   what did the death cost our agency. No.                20   job.
    21   BY MR. ALEXANDER:                                      21   BY MR. ALEXANDER:
    22      Q. And you said that it would be hard               22      Q. So where would that be memorialized? Is
    23   because you'd need to identify in some form or         23   that just an individual kind of exit interview
    24   fashion through, you know, Social Security number      24   memoranda or some other sort of document?
    25   or name or something the person who was -- died        25      A. I mean, we -- we keep turnover
                                                     Page 155                                                    Page 157
     1   and found to have some sort of drug in their            1   statistics, of course. There are exit documents
     2   system with the clients in your -- in your              2   done, if they do one, but the -- generally, the
     3   system, correct?                                        3   information is coming directly from a supervisor
     4          MS. FLOWERS: Object to the form.                 4   who's had a conversation with a worker about why
     5          THE WITNESS: We can't cross-reference.           5   they're leaving.
     6   We know our clients that die, they know the --          6      Q. So we'll break it up to two parts.
     7   all of the people in the community that die, but        7   Turnover statistics, those are maintained over
     8   I can't cross-reference based with their data.          8   time, correct?
     9   BY MR. ALEXANDER:                                       9      A. Correct.
    10      Q. Okay. And so there hasn't been some              10      Q. Okay. And we would see those to see if
    11   sort of analysis specifically on financial impact      11   there is some change in turnover in 2016, '17,
    12   on Children's Services or the clients of               12   '18, compared to the years before that. Those
    13   Children's Services as a result of deaths              13   stats should all exist and be maintained for
    14   associated with opioid or opiate use, correct?         14   historical reference, correct?
    15      A. Not --                                           15          MS. FLOWERS: Object to the form.
    16          MS. FLOWERS: Object to the form.                16          THE WITNESS: Well, I don't know if they
    17   Misstates the testimony.                               17   did turnover documents prior to my being with the
    18          THE WITNESS: Not deaths specifically.           18   agency, so I don't know that.
    19   BY MR. ALEXANDER:                                      19   BY MR. ALEXANDER:
    20      Q. So it's correct, there has not been an           20      Q. You mean -- you mean since you came as
    21   analysis like that?                                    21   executive director?
    22          MS. FLOWERS: Objection.                         22      A. Right.
    23          THE WITNESS: Correct.                           23      Q. Okay. So just since you started back up
    24   BY MR. ALEXANDER:                                      24   in 2013 to present, there would be turnover
    25      Q. Now, you mentioned turnover of your              25   statistics for every year?

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                                                     Page 158                                                    Page 160
     1          MS. FLOWERS: Objection. Lack of                  1      A. If they did an exit interview, there is
     2   foundation.                                             2   an exit interview document, yes.
     3          THE WITNESS: I don't know if there               3      Q. Do you know if there was some attempt to
     4   would be for every year. I don't know.                  4   look at exit interview documents for purposes of
     5   BY MR. ALEXANDER:                                       5   production in discovery in this case to try to
     6      Q. When do you think you started those               6   tie it at all to anything about opioids or
     7   being maintained?                                       7   opiates or drug abuse or substance abuse?
     8      A. I -- I assume that we probably have done          8          MS. FLOWERS: Objection. Asked and
     9   them since 2013, but I don't know that we have          9   answered.
    10   every year, so I just can't say that.                  10          THE WITNESS: I don't know.
    11      Q. Okay. So for -- in terms of the reason           11   BY MR. ALEXANDER:
    12   why somebody might leave, whether they say it's        12      Q. But those documents should exist, right?
    13   stressful because of just the general dealing          13          MS. FLOWERS: Objection.
    14   with children and these sorts of situations is --      14          THE WITNESS: There would be exit
    15   is very stressful and very soul wrenching, or          15   interview documents if they did an exit
    16   whether they have some specific comment about,         16   interview, yes.
    17   you know, drug abuse or some other thing, where        17   BY MR. ALEXANDER:
    18   would that be maintained? Just in individual           18      Q. Okay. And your basis of saying that you
    19   files, or would it be tracked collectively in          19   think that your turnover has something to do with
    20   some way?                                              20   that -- the heroin abuse makes doing the job
    21          MS. FLOWERS: Object to form.                    21   harder than it was before there was such a
    22          THE WITNESS: I don't know that it's             22   prevalence of heroin abuse that was seen in 2016,
    23   tracked anywhere.                                      23   is that based on anything in particular?
    24   BY MR. ALEXANDER:                                      24          MS. FLOWERS: Object to the form.
    25      Q. Okay. Are there individual exit memos?           25          THE WITNESS: It's not based on the
                                                     Page 159                                                    Page 161
     1      A. There would be -- if someone completed            1   specific exit interviews, if -- if that's what
     2   an exit interview, there would be an exit               2   you mean. It's really based more generally on
     3   interview for that individual, yes.                     3   the population of staff who talk about the stress
     4      Q. Are they supposed to do that?                     4   of dealing with very complex cases.
     5         MS. FLOWERS: Object to form.                      5          When opiate use is involved, it's --
     6         THE WITNESS: Well, they ask them if               6   it's the caseworkers who are talking about
     7   they would like to.                                     7   their -- their client dying. I had a caseworker
     8   BY MR. ALEXANDER:                                       8   who talked about having a client die and then,
     9      Q. Okay.                                             9   within 24 hours, the spouse of that client died.
    10      A. Yes.                                             10          So, you know, they talk about the
    11      Q. But what if the supervisor -- if it's            11   stories and how those negatively impact them. I
    12   relayed orally, do they -- the supervisor who          12   mean, that caseworker was clearly -- she didn't
    13   does the exit interview, are they supposed to          13   say, "I'm negatively impacted," and she didn't
    14   write down here is what the person said about the      14   leave the agency, but she was clearly very
    15   reason why they left?                                  15   distraught. And she was a very experienced
    16      A. No. The supervisor doesn't do an exit            16   worker.
    17   interview. Our HR department does exit                 17          So I think, you know -- I believe that
    18   interviews, not a supervisor.                          18   these younger workers who don't have that same
    19      Q. Okay. So when the HR personnel does an           19   level of experience when they're dealing with
    20   exit interview and they're told, "I am leaving         20   some of these very complex issues, they are
    21   because I was traumatized by seeing something in       21   really struggling with wanting to do the work.
    22   the field, a child who overdosed on heroin," or,       22   So it is -- I think it has been a factor in
    23   you know, some other horror that they might            23   losing some of our newer staff in that intake
    24   experience, is that memorialized in some form or       24   area, yes.
    25   fashion?                                               25   BY MR. ALEXANDER:
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     1      Q. And are there documents that talk about          1   relapse is very high. Overdoses are very high.
     2   this, other than just your impression about the        2   So those have a very traumatic impact on -- on
     3   way it's gone overall?                                 3   the -- on the staff.
     4          MS. FLOWERS: Object to the form.                4         And we have really tried to help them
     5          THE WITNESS: I'm not aware of a                 5   with that, do some things, do some trainings for
     6   document specifically that talks about a specific      6   them on secondary trauma. We have an employee
     7   type of case being the issue why someone left the      7   assistance program, for example. So some of
     8   agency.                                                8   those kinds of things to help to assist them with
     9   BY MR. ALEXANDER:                                      9   that.
    10      Q. You mentioned the term "secondary               10   BY MR. ALEXANDER:
    11   impact," meaning that the impact on the employees     11      Q. And those sorts of issues with secondary
    12   of Children's Services of doing their job and         12   impact and the need for training and counseling
    13   witnessing things that they experience in             13   of your own staff, was that also present before
    14   connection with that, including abuse of children     14   you came back in 2013?
    15   and spouses and neglect of children, all of that      15      A. You know, secondary trauma is not a --
    16   sort of thing -- is that what you're talking          16   not a new word, certainly. There's always some
    17   about for secondary impact?                           17   level of secondary trauma that can occur. I
    18      A. Yes. Secondary trauma is, you know, the         18   mean, you know, you could have secondary trauma
    19   trauma that the worker or any first responder can     19   occur if a child on your caseload dies because of
    20   experience when they're dealing with traumatic        20   abuse or neglect. That's going to have a similar
    21   events of the clients or families that they're        21   impact for staff members.
    22   serving. And trying to process that and deal          22         I think what happened was the frequency
    23   with that can be very traumatic to that first         23   of those very traumatic events increased. So,
    24   responder, whether it's our staff or law              24   therefore, the secondary trauma became a bigger
    25   enforcement or others.                                25   issue and a bigger problem for us.
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     1      Q. And do you think that that's had some            1      Q. And -- and is that the sort of thing
     2   impact on Children's Services other than in            2   where we see a similar trend to what we've seen
     3   relation to turnover that you've been talking          3   in the past where there are times when there's
     4   about; that there's been some other kind of            4   more secondary trauma, like during the
     5   downstream effect of more secondary impacts that       5   methamphetamine epidemic or the cocaine epidemic
     6   you attribute to increased heroin abuse peaking        6   or during other times when things might be
     7   in, like, 2016?                                        7   particularly bad in terms of other drivers of
     8          MS. FLOWERS: Objection to the form.             8   Children's Services needs?
     9          THE WITNESS: I think there's been a             9         MS. FLOWERS: Objection to the form.
    10   tremendous impact on the entire workforce related     10         THE WITNESS: I don't recall, when
    11   to the opiate epidemic. I have personally talked      11   cocaine was an issue and meth was an issue, that
    12   to supervisors and staff who have experienced         12   we had the same level of overdoses and deaths
    13   very significant trauma when they've lost a child     13   that were occurring. They were -- they were
    14   who may have, you know, got into a parents' drugs     14   substantially different.
    15   and overdosed. Some of them -- we've had some         15   BY MR. ALEXANDER:
    16   die. We've had parents who've died. We have           16      Q. I'm asking about the secondary impact.
    17   parents who relapse.                                  17   So I -- it's probably hard to measure secondary
    18          So it's very hard on a worker if you're        18   impact over time.
    19   working with a case and the family is doing well      19         You said that your impression is that
    20   and you're close to feeling like you can be able      20   there was a time period where there was more
    21   to send this child back to live with their            21   secondary impact during kind of the height of the
    22   family, and then the parent relapses, and they're     22   heroin epidemic in Summit County in 2016. Am I
    23   unable to make that reunification. There's a          23   right so far?
    24   sense of failure that goes with that when someone     24         MS. FLOWERS: Objection.
    25   fails or someone dies or someone is harmed. And       25         THE WITNESS: I'm not sure -- I'm not

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                                                     Page 166                                                   Page 168
     1   sure that's what I said, so I can try to repeat         1   and have been aware that it is an issue.
     2   it if you want. But I think that we have seen a         2         If someone has a child die, that's
     3   higher level of secondary -- a more -- a higher         3   clearly going to cause some secondary trauma for
     4   frequency of secondary trauma to our staff as a         4   them. And children have died. Caseloads have,
     5   result of the opiate epidemic.                          5   you know -- parents have died. But what we've
     6   BY MR. ALEXANDER:                                       6   seen is an increase in the frequency of that as a
     7       Q. And has there been some metric that you          7   result of the opiate epidemic.
     8   use for that in terms of productivity? Time off?        8   BY MR. ALEXANDER:
     9   Anything other than turnover rate to measure the        9      Q. So are there any documents or types of
    10   increased frequency of secondary impact related        10   documents that you could point to where this has
    11   to heroin abuse?                                       11   been discussed or analyzed over time to look at
    12       A. I don't know that there's a measure             12   increased death of children or parents using
    13   other than really just processing with staff kind      13   children's services and how that might have an
    14   of where they are and what they're struggling          14   effect on employee well-being, this sort of
    15   with.                                                  15   secondary impact?
    16          I think turnover's probably a very minor        16         MS. FLOWERS: Object to the form. Asked
    17   part of it, really. It's -- we have seen a             17   and answered.
    18   higher turnover. I don't think that's the              18         THE WITNESS: Again, I don't think -- we
    19   biggest issue.                                         19   don't have any documents that we fill out related
    20          I think the bigger issue is really              20   to that unless there's some specific incident in
    21   making sure that people are -- people are okay to      21   the case file. There's nothing that documents
    22   be able to do the job and that their needs are         22   secondary trauma. It's a real issue, but it's
    23   being met. And there's no measure for that.            23   not analyzed and documented in a spreadsheet.
    24   There's not a test that we give them that says,        24   BY MR. ALEXANDER:
    25   "Are you stressed?" We don't force those kinds         25      Q. Is it also an issue that's increasingly
                                                     Page 167                                                   Page 169
     1   of things on staff.                                     1   the subject of awareness within the field of
     2          But we know when we hear them or see             2   professionals who do children's services?
     3   them crying in their office that they're                3          MS. FLOWERS: Object to the form.
     4   experiencing stress. So we have to sit down with        4          THE WITNESS: Could you say that again?
     5   them and say, "What is the issue that you're            5   BY MR. ALEXANDER:
     6   experiencing? Why are you crying in your                6      Q. Sure. Is there increasing awareness
     7   office?" And it is generally about their case           7   about secondary impact and secondary trauma
     8   having some sort of a trauma -- traumatic issue         8   within children's services?
     9   that has caused them some harm and pain.                9      A. I believe there is, yes.
    10      Q. And you're not saying all of the trauma          10      Q. All right. I mean, more broadly, like,
    11   is because of heroin, are you?                         11   within health care professionals, there's more
    12          MS. FLOWERS: Objection.                         12   attention now than there was 20 years ago to the
    13          THE WITNESS: No. I didn't -- I didn't           13   impacts on the mental well-being and maybe even
    14   say that.                                              14   the functioning of health care workers by what
    15   BY MR. ALEXANDER:                                      15   they experience in their job, correct?
    16      Q. And there are reasons other than drug            16      A. I -- can you -- you're going to have to
    17   abuse that might lead to changes in how -- kind        17   repeat that for me.
    18   of how bad it is, how often you're seeing              18      Q. Sure.
    19   secondary impacts, right?                              19      A. Sorry.
    20          MS. FLOWERS: Object to the form.                20      Q. It's probably not necessary. Why don't
    21          THE WITNESS: I haven't seen trends. I           21   we just go on.
    22   -- I think you did ask me that. I haven't seen         22          In terms of the secondary impact and
    23   trends where we've seen increase in secondary          23   this issue of tying it to the deaths of children
    24   trauma until more recently with the opiate             24   or adults who interact with Children's Services,
    25   epidemic. I have always seen secondary trauma          25   you mentioned something about case files.

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                                                     Page 274                                                   Page 276
     1          If I can hand that to you to put with            1   Yes, that's it.
     2   it. That too. Let me give you -- if you don't           2      Q. You were close.
     3   mind -- I'm sorry. I just have to give you              3         So at the bottom of this, it says, "I
     4   that --                                                 4   will submit the letter with all authorized
     5      A. Okay. Uh-huh.                                     5   signatures, and will also post the letter on the
     6      Q. -- so that those going together.                  6   Opiate Task Force Website." And it gives a -- a
     7      A. All right.                                        7   website address for that.
     8      Q. Do you see your name on the top of the            8         Do you see that?
     9   e-mail September 15th, 2017, sent to Katerina           9      A. I do.
    10   Papas?                                                 10      Q. And by this time, were you participating
    11      A. Yes, I do.                                       11   in the Opiate Task Force?
    12      Q. Okay. And do you recall the attachments          12      A. I always -- I -- I don't generally go to
    13   to this e-mail?                                        13   the Opiate Task Force meetings. I've been to
    14      A. "The attachments" meaning the letter to          14   probably a few. But I am always aware of what
    15   the president?                                         15   they're doing. I get their e-mails. I get their
    16      Q. Yeah. And then there's a -- so                   16   newsletter, stuff like that, so yes.
    17   there's a -- there's a short version of a letter.      17      Q. And do you maintain those documents as
    18      A. Okay. Uh-huh.                                    18   part of your business records?
    19      Q. And then there's a long version where            19      A. Not necessarily unless I need them for
    20   your name is ended at the end --                       20   something.
    21      A. Yes.                                             21      Q. But are you participating with the task
    22      Q. -- your name is added with a whole bunch         22   force in an official capacity or personal
    23   of other folks.                                        23   capacity?
    24      A. I see that, yes.                                 24      A. I don't really participate in the task
    25      Q. It looks like the letter is pretty much          25   force. I don't regularly attend those meetings.
                                                     Page 275                                                   Page 277
     1   the same, though.                                       1      Q. When you've gone to the meetings or when
     2      A. Yes.                                              2   you get stuff sent to you, is it because you are
     3      Q. So your letter to Ms. Papas asks her "Do          3   the executive director of Summit County
     4   you see any reason I could not sign this on             4   Children's Services or because of a personal
     5   behalf of the agency. If I thought it was at all        5   interest outside of your work position?
     6   controversial, I would want board approval, but I       6      A. It's because of my role as the executive
     7   cannot imagine the board would not agree. What          7   director of Summit County Children's Services.
     8   do you think?"                                          8      Q. So I -- I won't belabor it, but what --
     9         Do you see that?                                  9   what was the gist, from your perspective, of what
    10      A. I do.                                            10   you wanted the federal government to do here in
    11      Q. Do you know what her response was?               11   September of 2017 to help alleviate the effects
    12      A. Well, obviously, that's not here, but I          12   of what's described as the opiate epidemic?
    13   believe she agreed with me that this was an            13          MS. FLOWERS: Object to the form.
    14   appropriate thing to sign and did not need board       14          THE WITNESS: Well, according to the
    15   approval because I don't believe we did take that      15   letter, we were asking that they would -- the
    16   to the board, is my recollection.                      16   president would declare a public health emergency
    17      Q. And at the bottom of the cover e-mail            17   with the goal, ultimately, of having some funds
    18   from Darlene Migas of ADM board -- that's the          18   to help with the opiate epidemic.
    19   Alcohol, Drug Addiction & Mental Health Services       19   BY MR. ALEXANDER:
    20   Board of Summit County.                                20      Q. And we talked about how you had been
    21         Do you see that?                                 21   aware for a while that, from your perspective,
    22      A. I do.                                            22   the state funding for Summit County Children's
    23      Q. We were talking about that acronym               23   Services was not sufficient from your
    24   earlier, right?                                        24   perspective, and that you thought that increased
    25      A. Right. And I couldn't come up with it.           25   funding would have been helpful to address the

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                                                      Page 278                                                   Page 280
     1   impact of heroin abuse and other aspects of              1   although we, again, don't necessarily get federal
     2   what's been described as the opiate epidemic. Do         2   money. I think this -- this is a good example.
     3   you remember that?                                       3          They -- eventually, there was some money
     4      A. Yes.                                               4   for the Cures Act, is my understanding --
     5         MS. FLOWERS: Objection.                            5      Q. For --
     6         THE WITNESS: Uh-huh.                               6      A. -- that went to the mental health
     7   BY MR. ALEXANDER:                                        7   boards.
     8      Q. Did you have a similar view about                  8      Q. Did you say Cares Act?
     9   federal government funding or involvement, that          9      A. Cures.
    10   more could have been done before September of           10      Q. Cures Act.
    11   2017 to help nip this in the bud or limit the           11      A. Uh-huh.
    12   effects on the children that were your clients?         12      Q. When did you start getting that money?
    13      A. Generally, I would say yes. But I --              13      A. We didn't. I -- I -- I believe that
    14   you know, I'm probably not the right person to          14   went to mental health boards.
    15   ask that because we don't -- this funding doesn't       15      Q. Has there been any increase in funding
    16   come through us. So, you know, I was really much        16   that's focused on addressing effects of heroin
    17   more focused on our state funding, and that had a       17   abuse or opiate abuse that's come from federal
    18   direct impact on us.                                    18   sources that you've actually received since you
    19         My involvement when the -- with this              19   became executive director?
    20   would be more from a community perspective around       20      A. Not -- not to our agency, no.
    21   making sure that those services that clients need       21      Q. What about more generally in terms of
    22   are available in the community, so . . .                22   funding that's focused on addressing substance
    23      Q. So I'm asking about your perspective              23   abuse? Has there been any new money that's come
    24   because, you know, we know what your position is,       24   to your agency at all since you became executive
    25   we have some documents from you that you have           25   director in 2013?
                                                      Page 279                                                   Page 281
     1   a -- kind of a role in this because the entity           1         MS. FLOWERS: Object to the form.
     2   that you oversee is part of what the plaintiffs          2         THE WITNESS: Not specifically unless it
     3   in this case are seeking damages for.                    3   was a grant, you know. So, for example, the
     4          So I'm -- I'm asking you, from your               4   START grant that we applied for, we'll get some
     5   perspective, whether this was your job or not.           5   money for that. The STARS grant was a federal
     6   What is it you think the federal government              6   grant that was already in place, as you know.
     7   should have been doing more in terms of funding          7         So, no, I'm not aware of anything.
     8   or other initiatives to help make things better          8   BY MR. ALEXANDER:
     9   for the children you believe were affected by            9       Q. Okay. Do you wish there had been?
    10   heroin abuse and other aspects of the opioid or         10       A. Sure. Yes.
    11   opiate epidemic?                                        11       Q. Is there something in particular other
    12          MS. FLOWERS: Object to the form.                 12   than just more money would have been better to
    13          THE WITNESS: I think they needed to do           13   hire more staff and do more training and have
    14   more and provide more funding to get the right          14   more programs?
    15   services out there, to fund the appropriate             15       A. There's a whole lot of things that I
    16   organizations adequately. Yes, I think they             16   would be able to use money for if I had
    17   needed to do more as well.                              17   additional money. Yeah.
    18   BY MR. ALEXANDER:                                       18       Q. Have you committed that list, kind of
    19      Q. What do you mean "fund the appropriate            19   the wish list of what would help, to writing?
    20   organizations" or fund them appropriately?              20       A. Sure. Not to writing, no, but I've got
    21      A. Whether that would be through Health &            21   it.
    22   Human Services, through those organizations that        22       Q. You have it in your head?
    23   would through push funding down to the states.          23       A. Uh-huh.
    24   Whether that be through mental health boards,           24       Q. I don't know if it would take the rest
    25   through the Office of Children and Families,            25   of our time, but can you give me your wish list?
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                                                    Page 282                                                  Page 284
     1      A. Well, I could give you the short one.            1         I think that the sooner we can address
     2      Q. Sure. Right.                                     2   the childhood trauma for children, the better off
     3      A. But, you know, I think, you know, we             3   we're going to be because that is a long-term
     4   need additional funds, obviously, to staff             4   issue for those children. It's a long-term
     5   appropriately. Our cases are too complex for the       5   resource issue that is an unknown factor at this
     6   caseloads that we currently have, so staffing          6   point.
     7   would be probably first and foremost.                  7         So that's a few.
     8         But I also think we need to have more            8      Q. Is that the short list?
     9   foster homes, so we would need more money for          9      A. That's the short list.
    10   recruitment, which is very, very costly.              10      Q. Have you proposed that to anybody of
    11         We would need additional dollars to             11   saying, "Here are the things I would like"?
    12   really support our staff internally. I would          12      A. No, not particularly. I mean, there are
    13   love to have a clinical person on staff that they     13   certain pieces of that that I have proposed and
    14   could talk to about their case, to staff their        14   had discussions with my board, but not all of
    15   cases. I would also like someone to deal with         15   those because I think that they are not a
    16   their secondary trauma issues in-house. I think       16   reality; at least, they have not been. So I
    17   that would be very helpful if they had someone        17   think, you know, now that we have our levy
    18   that they could process those things with outside     18   passed, we will look at, you know, pieces and
    19   of our EOP program, which is not sufficient.          19   parts of that and what are the most critical.
    20   Some additional training for them.                    20         I certainly could not afford to do all
    21         But, really, a lot of resources for our         21   of those with the levy increase that we have, but
    22   clients would be very, very helpful. We have a        22   I think that we will try to implement a few
    23   significant number of families who are placed         23   things, particularly the resources for kinship
    24   with the kinship, relatives or nonblood-related       24   families, because I think that's very critical,
    25   people. Those people struggle very much with the      25   and really looking at our recruitment of foster
                                                    Page 283                                                  Page 285
     1   resources to take care of children. Child care     1       homes and increasing the staff to some extent.
     2   is a very substantial issue for them. They don't   2          Q. Do you have a price tag for any or all
     3   have enough money when they take a child into      3       of those measures?
     4   their home to pay the child care costs that go     4              MS. FLOWERS: Object to the form.
     5   along with that. We pay a lot of that for them,    5       BY MR. ALEXANDER:
     6   but that is limited to some extent on how much of  6          Q. How much it would cost to do them?
     7   that we can do.                                    7          A. Oh.
     8         So I would love to see some additional       8              MS. FLOWERS: Same objection.
     9   support. I would love to have staff who really     9              THE WITNESS: I -- I have not done a
    10   are focused very much on the kinship family and   10       financial analysis on how much each of those
    11   they're able to be a support person attached to   11       things would cost, so no.
    12   every kinship provider, but we do not have        12                      ---
    13   resources to do that and have not been able to    13              Thereupon, Exhibit 4 was marked for
    14   provide that service.                             14              purposes of identification.
    15         I have -- I would love to have a trauma     15                      ---
    16   expert on staff. I guess that would be probably   16       BY MR. ALEXANDER:
    17   another one. Our children are very, very          17          Q. Okay. I think this will not take long.
    18   traumatized by removal from the home, some of the 18       I have Exhibit 4 for you, which is a two-page
    19   things they've seen in the home. We know that     19       e-mail, SUMMIT_001911463 through -464. And
    20   childhood trauma has a very, very long-term,      20       there's a copy for plaintiffs' counsel.
    21   negative impact on children. And I am extremely   21              And if we -- we start at the back of
    22   worried about what we don't know yet about what's 22       this, the e-mail chain starts July 5th, 2017.
    23   going to happen with the children who have been   23          A. Okay.
    24   traumatized by what's happened to them in their   24          Q. So, essentially, two months before the
    25   homes.                                            25       one we were just looking at that was the letter

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                                                    Page 286                                                   Page 288
     1   to President Trump.                                    1   out of however many cases there were with a
     2      A. Okay.                                            2   removal in place, there were 466 that had
     3      Q. Do you see that?                                 3   something about substance use as a concern or
     4      A. Uh-huh.                                          4   risk contributor, correct?
     5      Q. Okay. And the subject is an "Opioid              5      A. Correct.
     6   Survey." Do you see that?                              6      Q. Okay. It said, "For those cases, I
     7      A. I do.                                            7   wrote code to programatically pull the Drug Type
     8      Q. And we've -- we've talked about whether          8   ('drug choice') from both the linked intakes and
     9   certain data was generated in connection with          9   parental Characteristics. Out of 242 cases, we
    10   opioid surveys that PCSAO was requesting at           10   had to physically look at 41 cases to find a
    11   different points in time. You remember that           11   documented drug type."
    12   discussion?                                           12          Do you know what he means by that?
    13      A. Yes.                                            13          MS. FLOWERS: Object to the form.
    14      Q. Okay. So first e-mail is from Amy               14          THE WITNESS: I'm not sure what he means
    15   Davidson to Brady Stewart, copying -- copying         15   by that, no.
    16   Elizabeth Mangon.                                     16   BY MR. ALEXANDER:
    17         And we talked about Ms. Davidson,               17      Q. Does that suggest an issue with the data
    18   correct?                                              18   that's in SACWIS of needing to go physically look
    19      A. Correct.                                        19   at case files?
    20      Q. And who is Brady Stewart and who is             20          MS. FLOWERS: Object to the form.
    21   Elizabeth Mangon?                                     21          THE WITNESS: I -- I -- I guess that
    22      A. Brady Stewart is in our quality                 22   what he means is that when he looked at the
    23   improvement department. He is primarily our           23   parental characteristics, he did not see it
    24   SACWIS person. And he -- so he runs reports for       24   there. So he looked into those 41 cases because
    25   us and those kinds of things that come out of our     25   he knew there was a substance abuse issue, but it
                                                    Page 287                                                   Page 289
     1   quality improvement department.                        1   wasn't identified.
     2         Liz Mangon is the director of the                2   BY MR. ALEXANDER:
     3   quality improvement department.                        3      Q. When you say "looked into," means looked
     4      Q. So I gave her a French pronunciation to          4   at the --
     5   her last name. It's just "Mangon"?                     5      A. He looked --
     6      A. "Mangon."                                        6      Q. -- actual file, case file?
     7      Q. Okay. All right. So, ultimately,                 7      A. -- at the actual file then.
     8   Mr. Stewart writes back to Ms. Davidson later          8      Q. So in 2017, after the various efforts to
     9   that morning, sends her a spreadsheet about 466        9   upgrade, make more robust the data that's in
    10   removals in 2016 where there was a reunification      10   SACWIS, there's still issues where the specific
    11   case plan that had substance use documented as a      11   drug is not specified for some portion of the
    12   concern/risk contributor. Do you see that?            12   cases, correct?
    13      A. Yes.                                            13         MS. FLOWERS: Object to the form.
    14      Q. It's the bottom of the first page.              14         THE WITNESS: I -- I don't -- I don't
    15      A. Bottom of the first page. Uh-huh. Yes.          15   know.
    16      Q. Okay. And is that tied to what we were          16   BY MR. ALEXANDER:
    17   talking about earlier in terms of looking at          17      Q. I mean, it says that, basically,
    18   people who had a -- a plan in place that              18   one-sixth of the cases they identified didn't
    19   identified substance use?                             19   have the drug specified without going back to the
    20      A. Right. Yes. Uh-huh.                             20   case file?
    21      Q. And do you know if this was done in             21      A. Right.
    22   connection with responding to a PCSAO opioid          22         MS. FLOWERS: Objection to the form.
    23   survey?                                               23         THE WITNESS: It wasn't -- sorry. It
    24      A. I believe that's what this is for, yes.         24   wasn't specified in that place in the record is
    25      Q. So it continues, "For those cases" -- so        25   what I'm interpreting this to mean, but I -- I

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     1   talk about individual names, which is why it's a   1          A. I -- I really don't.
     2   little vague.                                      2          Q. Same questions for Cardinal Health. Do
     3          Does that make sense?                       3       you know anything about them?
     4       A. Sure. Yes.                                  4          A. Nothing specific.
     5       Q. So in terms of --                           5          Q. Do you know anything about what they
     6       A. Appreciate that.                            6       have to do with the distribution of prescription
     7       Q. -- any of the accounts that have            7       opioids to Summit County?
     8   appeared in the press talking about problems with  8          A. Not specifically.
     9   drug exposure of children and the possible role    9          Q. Do you know anything about their role in
    10   of Summit County Children's Services, you're not  10       this case at all?
    11   critical of the performance of your group,        11          A. Not specifically.
    12   correct?                                          12          Q. Do you have any personal knowledge of
    13       A. No, I'm not.                               13       anything that McKesson ever did or didn't do with
    14          MR. ALEXANDER: Okay. Why don't we take 14           regard to prescription opioids?
    15   a break, and we'll see whether I have additional  15          A. Not specifically.
    16   questioning or --                                 16          Q. Do you have any knowledge of anything
    17          THE WITNESS: Okay.                         17       about McKesson in terms of their role in this
    18          MR. ALEXANDER: -- anybody else does.       18       case?
    19          THE WITNESS: Okay.                         19             MS. FLOWERS: Objection. Asked and
    20          THE VIDEOGRAPHER: Off the record at        20       answered.
    21   4:51 p.m.                                         21             THE WITNESS: Not specifically.
    22          (Recess taken.)                            22       BY MR. ALEXANDER:
    23          THE VIDEOGRAPHER: Back on the record at 23             Q. For any of the distributors, any
    24   5:09 p.m.                                         24       distributors large and small, any company that
    25   BY MR. ALEXANDER:                                 25       ever distributed prescription opioids that they
                                                    Page 367                                                   Page 369
     1      Q. Is there any of your testimony thus far          1   didn't manufacture or dispense in a retail
     2   you need to change or supplement or -- in any          2   fashion, the distributors, do you know anything
     3   way?                                                   3   about any of them in regards to anything about
     4      A. I don't believe so.                              4   this case?
     5      Q. I'm going to reiterate my position               5         MS. FLOWERS: Object to the form.
     6   relating to document production, and then I've         6         THE WITNESS: Not specifically.
     7   just got a handful of questions, and then pass         7   BY MR. ALEXANDER:
     8   you on to the codefendants for their questioning       8      Q. Okay. Do you intend to gain information
     9   subject to our reservations about documents and        9   about any of the distributors to be able to offer
    10   some of the other issues that have come up.           10   any testimony specific to them or to the
    11         Now, at the start of this, I asked you          11   distributors as a whole?
    12   about allegations in the case relating to various     12         MS. FLOWERS: Objection. Calls for
    13   defendants including the defendants I referred to     13   speculation.
    14   as the distributors. Remember those questions?        14         THE WITNESS: Not unless I need to, no.
    15      A. Yes.                                            15   BY MR. ALEXANDER:
    16      Q. Okay. Do you know, based on your own            16      Q. Do -- do you -- I -- I know that there
    17   personal knowledge, any facts at all relating to      17   may be things that come up and conversations you
    18   AmerisourceBergen Drug Corporation?                   18   have with lawyers and all sorts of stuff, but
    19      A. No, I don't.                                    19   you, to, like, do your job in Summit County
    20      Q. Do you know who they are? Do you know           20   Children's Services, do you intend to gain any
    21   what they do? Do you know anything about them?        21   information to be able to testify about anything
    22      A. Not really, no.                                 22   relating to anything a distributor ever did or
    23      Q. Do you know what, if anything, they have        23   didn't do?
    24   to do with the distribution of prescription           24         MS. FLOWERS: Object to the form.
    25   opioids to Summit County?                             25         THE WITNESS: I don't really think that

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     1   has anything to do with me doing my job. I'm --         1   your questions have been very data driven and
     2   I'm really here to talk about how this impacts my       2   document driven, but there is more to the story
     3   system, so I -- no, really, I -- I don't.               3   than the data and documents and statistics.
     4   BY MR. ALEXANDER:                                       4   BY MR. ALEXANDER:
     5      Q. And subject to the documents that we              5      Q. Well, I've asked you a number of times
     6   have, I've tried to be thorough in asking you           6   if you had specific experiences with patients or
     7   about everything you know and can say and can't         7   with facts relating to what you believe was
     8   say relating to the impact on your job and your         8   illustrative of the impact of the heroin epidemic
     9   department of what you understand to be related         9   or opiate crisis, however it's been characterized
    10   to heroin abuse, opiate abuse, and opioid abuse.       10   at different points in time, on Cuyahoga -- on
    11         Do you have anything else to add on any          11   Summit County Children's Services.
    12   of those subjects that we haven't already              12          Do you have any examples like that? Do
    13   covered?                                               13   you have specific instances you can talk about?
    14         MS. FLOWERS: Object to the form.                 14          MS. FLOWERS: Object to the form of the
    15         THE WITNESS: No. I mean, I guess the             15   question. Asked and answered; lack of
    16   only other thing that I would really add is --         16   foundation.
    17   since you're just opening the door for me to say       17          THE WITNESS: I mean, I have many
    18   whatever I want, I guess -- I -- I feel like, you      18   examples of, you know, very specific situations
    19   know, we're really trying to pin this down to          19   where I know that children have been harmed. I
    20   data and numbers very specifically, and that's         20   know that parents have died. I know that parents
    21   kind of been what this is about.                       21   have overdosed frequently. I know that my
    22         And I really do believe that, you know,          22   caseworkers have struggled with, you know,
    23   my 28 years of experience in working in child          23   telling a child that their parent is deceased.
    24   welfare and watching what has happened to              24          Removing a child from a home because
    25   children and families is a really big piece of         25   their parents have addiction issues and the
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     1   how we analyze what we do and what's impacting     1        trauma of removal alone is -- is a significant
     2   our system.                                        2        trauma for children.
     3   BY MR. ALEXANDER:                                  3              So, yeah, there's -- there's -- there's
     4      Q. And observations that you've had over        4        endless examples of those kinds of scenarios that
     5   the last, let's say, 12 years going back to 2006,  5        go into my analysis and my reaction to how I
     6   including the time when you had your prior         6        responded to this issue.
     7   position with Summit County, any observations you 7               MR. ALEXANDER: Okay.
     8   had about what you believe was the impact of       8              MS. NADEL: Not to interrupt, but
     9   opioid use, opiate use, heroin, or any other drug  9        someone on the phone can't hear. Do we know if
    10   of abuse would be memorialized in documents that 10         there's an issue with the audio? I just got an
    11   you created at the time, correct?                 11        e-mail that somebody can't hear.
    12           MS. FLOWERS: Object to the form. Lack     12              MR. ALEXANDER: Don't know.
    13   of foundation.                                    13              MS. NADEL: Is it on mute?
    14           THE WITNESS: Not necessarily. Again,      14              MR. ALEXANDER: It doesn't light up or
    15   I -- I think this -- you know, it isn't always    15        not light up when you push it. So I -- I don't
    16   about documents and data. It's really, you know,  16        think this is a good time to interrupt.
    17   a -- about what I've observed, what I've          17        BY MR. ALEXANDER:
    18   witnessed, what I've seen in years of experience, 18           Q. The examples you just referenced in the
    19   what I've heard from my staff, what I see in my   19        abstract, can you say that any of them involved
    20   caseworkers, the conversations that I have, not   20        people who were using prescription opioids
    21   only in the community but with my staff,          21        pursuant to prescription written for them at the
    22   specifically about what they're saying, what      22        time the various adverse health consequences or
    23   they're dealing with every day.                   23        impact on the children occurred?
    24           And I don't feel like we had any of       24           A. Well, I mean, I think, as I stated
    25   those conversations, which I understand. I mean,  25        earlier, I don't specifically know -- you know,

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     1   I'm talking about opioids generally, and not           1   for a very high percentage of people.
     2   breaking it down to specific types.                    2   BY MR. ALEXANDER:
     3          You know, have there been cases where           3      Q. So in response to my last question, the
     4   I've known the type of drug? Absolutely. Was it        4   answer is: No. As I sit here today, I can't
     5   heroin or was it -- but, generally, we're looking      5   tell you that any of these specific cases
     6   at it in, you know, the totality of the opioid         6   involved somebody who started with a prescription
     7   epidemic.                                              7   opioid written for them and then went on to
     8      Q. Okay. So sitting here today, when you            8   illegal heroin, correct?
     9   think about examples of these sorts of human           9         MS. FLOWERS: Objection. Argumentative;
    10   impacts of heroin abuse and opiate abuse, you         10   misstates the witness's testimony.
    11   can't say that any of them involved somebody who      11         THE WITNESS: I can't specifically give
    12   was actually taking a prescription opioid             12   you a case example of that myself, no.
    13   pursuant to a prescription written for them at        13   BY MR. ALEXANDER:
    14   the time of the events that you're talking about,     14      Q. So when you've talked about that you can
    15   correct?                                              15   identify cases where somebody was taking a
    16          MS. FLOWERS: Objection. Asked and              16   prescription opioid or where you know specific
    17   answered -- asked and answered; mischaracterizes      17   cases that were -- you know which drug they were
    18   the witness's testimony.                              18   taking in specific cases, how would we look at
    19          THE WITNESS: Again, I -- I don't               19   those case files? How would we be able to
    20   necessarily know the type of drug or what drug        20   evaluate those case files or those case records
    21   they started with, so I wouldn't necessarily have     21   on SACWIS or some other case file to look at the
    22   that.                                                 22   facts and figure out for ourselves if it supports
    23          I -- I am aware that it is -- it is            23   your recollection?
    24   different types of drugs. So it could be              24         MS. FLOWERS: Object to the form.
    25   prescription drugs. We do have cases where we         25         THE WITNESS: I don't think you would,
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     1   know it's prescription drugs. I might                  1   frankly, because the information in the case
     2   necessarily not have that information.                 2   records is confidential and protected in a number
     3         When I have conversations with my staff,         3   of ways. So I -- we wouldn't provide
     4   when we have conversations in the community, we        4   case-specific information to -- on that.
     5   talk about opioids generally. We don't get into        5   BY MR. ALEXANDER:
     6   the specifics of that. So I really can't break         6      Q. Right. So in federal court like this,
     7   that down for you.                                     7   where we have discovery, if you want to talk
     8   BY MR. ALEXANDER:                                      8   about something that you say occurred and you say
     9      Q. Okay. So, again, I have another                  9   the underlying facts of it are confidential, that
    10   specific focus question about the cases that          10   potentially creates an issue.
    11   you're talking about. Can you say that any of         11          So I want to make sure that I've
    12   those people, where they were using some illegal      12   explored this adequately so that if we have to
    13   drug like heroin later, that any of them actually     13   file motions and follow-up with the court, we can
    14   started with a prescription opioid written for        14   do so.
    15   them and taken by them pursuant to a                  15          You believe that any examples that you
    16   prescription?                                         16   have in your head of actual cases that you've
    17         MS. FLOWERS: Objection. Asked and               17   heard about or you've been involved in where
    18   answered.                                             18   there was something that -- bad happened, like
    19         THE WITNESS: I think, you know, my              19   a -- a child observing a parent dying or some
    20   answer earlier was I don't think necessarily we       20   other bad situation that you would say is an
    21   track that. Do my staff know that? Perhaps. I         21   example of the impact of opioids or opiates or
    22   wouldn't know that.                                   22   heroin on Children's Services would require
    23         You know, I'm kind of, again, generally         23   evaluating confidential information on cases that
    24   applying what we know statistically occurs around     24   you could identify but wouldn't be willing to
    25   heroin, having started with prescription drugs        25   because, from your perspective, it would be a

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     1   breach of confidentiality; is that correct?             1   said I don't have examples of that.
     2          MS. FLOWERS: Object to the monologue             2   BY MR. ALEXANDER:
     3   and to the characterization of the witness's            3      Q. Okay. And even if you could identify
     4   testimony and the form and lack of foundation.          4   examples, your view is that you wouldn't be
     5          THE WITNESS: Well, let me clarify.               5   willing to share them because it would involve
     6   I -- I don't have examples for you that are             6   looking at confidential information like patient
     7   specific to a particular client who started on          7   names, potentially children names --
     8   one drug and ended up on another.                       8         MS. FLOWERS: Same objection.
     9          I -- I think I said that clearly, that I         9   BY MR. ALEXANDER:
    10   am making some assumptions, again, statistically       10      Q. -- or client names?
    11   based on what I know happens with heroin use. So       11      A. Correct.
    12   I don't have specific examples of cases.               12      Q. So at trial, you don't intend to talk
    13          I believe some caseworkers may have some        13   about any specific examples, right?
    14   cases where they know that occurred, but they          14         MS. FLOWERS: Object to form. Calls for
    15   don't necessarily know that either. So if they         15   speculation.
    16   have a client who is currently testing positive        16         THE WITNESS: No, I -- I don't.
    17   or admitting to use of heroin, they may not know       17   BY MR. ALEXANDER:
    18   where that started.                                    18      Q. I'm sorry?
    19   BY MR. ALEXANDER:                                      19      A. I said no, I don't.
    20      Q. Okay. So for any example based on an             20         MR. ALEXANDER: Okay. So subject to our
    21   individual case where you can say, "I know that        21   prior reservations and whatever issues we have to
    22   in the case of Jane Doe this bad thing happened        22   deal with on motion, whatever those would be, I
    23   because of something about drug addiction, and it      23   was going to pass to the manufacturers and other
    24   had a horrible impact on a child or it had a           24   defendants for their questioning.
    25   secondary impact on a caseworker or it was some        25         I would suggest that we just go off the
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     1   other -- in some other way, it was a great              1   record for five seconds while we shift seats.
     2   example of what I've been talking about," if            2         MS. FLOWERS: Okay. Before we go off
     3   there are examples like that, you wouldn't be           3   the record, we'll just state on behalf of the
     4   willing to let us look at those case files to           4   plaintiff that we believe the documents have all
     5   figure out what the file actually says, correct?        5   been produced for this witness.
     6         MS. FLOWERS: Object to the form. Lack             6                  ---
     7   of foundation; misstates the witness's testimony.       7                EXAMINATION
     8         THE WITNESS: I wouldn't necessarily               8   BY MS. NADEL:
     9   know what cases those are, so I --                      9      Q. It's been a long day. I just want to
    10   BY MR. ALEXANDER:                                      10   remind you of who I am. My name is Heidi Nadel.
    11      Q. Okay.                                            11   I represent Insys Therapeutics, Inc. And I only
    12      A. -- I couldn't say, you know, it's a              12   have a couple of questions for you.
    13   particular case. So, no, I -- I couldn't say,          13         MS. NADEL: Are we good? Are we good?
    14   "This case you can look at; that case you can't,"      14         Okay.
    15   so I wouldn't be able to do that.                      15   BY MS. NADEL:
    16      Q. So let's make it a two-step process.             16      Q. We've talked a lot today about variously
    17   Can you identify with any degree of                    17   called opioid, opiate epidemic or crisis. Is it
    18   particularity, whether they be case file numbers       18   okay if in my questions I refer to "the opiate
    19   or names, any of the actual cases that you're          19   epidemic," and it will mean all of the things
    20   kind of relying on in your head as examples of         20   that have been used today as opioid crisis,
    21   the sorts of things that you've been talking           21   opiate epidemic, however it's been used in the
    22   about of the -- the human impact of the opiate         22   documents, we have one term I can use?
    23   epidemic?                                              23      A. Yes. That's fine with me. That's
    24         MS. FLOWERS: Form.                               24   generally how I have been characterizing it today
    25         THE WITNESS: I -- I think I already              25   as well.

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